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Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA


     UNITED STATES OF AMERICA,          )   No. 3:22-cr-00033-SLG-KFR
                                        )
                          Plaintiff,    )   COUNT 1:
                                        )   DISTRIBUTION OF
          vs.                           )   METHAMPHETAMINE
                                        )     Vio. of 21 U.S.C. § 841(a)(1),
     HARDY FATUILESILA MUASAU,          )   (b)(1)(A)
                                        )
                          Defendant.    )   COUNT 2:
                                        )   FELON IN POSSESSION OF A
                                        )   FIREARM
                                        )     Vio. of 18 U.S.C. §§ 922(g)(1) and
                                        )   924(a)(2)
                                        )
                                        )   CRIMINAL FORFEITURE
                                        )   ALLEGATION:
                                        )     18 U.S.C. § 924(d), 28 U.S.C.
                                        )   § 2461(c), and Fed. R. Crim. P. 32.2(a)
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                                  INDICTMENT

      The Grand Jury charges that:

                                        COUNT 1

      On or about February 20, 2020, within the District of Alaska, the defendant,

HARDY FATUILESILA MUASAU, did knowingly and intentionally distribute a

controlled substance, to wit: 50 grams or more of pure methamphetamine.

      All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A).

                                        COUNT 2

      On or about February 20, 2020, within the District of Alaska, the defendant,

HARDY FATUILESILA MUASAU, knowingly having been convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess, in

and affecting interstate and foreign commerce, firearms, to wit:

      1. Springfield Armory Pistol, Model: XDM-40, Caliber: .40;

      2. Springfield Armory Pistol, Model: SD-45, Caliber: .45;

      3. Taurus Pistol, Model PT-1911, Caliber: .45;

      4. Israel Military Industries (IMI-IWI) Pistol, Model: Desert Eagle, Caliber: .50;

      5. Smith & Wesson Pistol, Model: 622, Caliber: .22; and

      6. Intratec Pistol, Model: AB-10, Caliber: 9MM.

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                                        Conviction


   Conviction Date              Offense                    Court               Case No.
                           Assault in the First        Alaska Superior
    May 29, 2009                                                           3AN-06-528
                                Degree                      Court

       All of which is in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

                       CRIMINAL FORFEITURE ALLEGATION

       Upon conviction for the offenses in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2), set forth in Count 2 of this Indictment, the defendant, HARDY

FATUILESILA MUASAU, shall forfeit to the United States any firearms and

ammunition used in knowing commission of the offense, including but not limited to the

firearms set forth under Count 2 of this Indictment, to wit:

       1. Springfield Armory Pistol, Model: XDM-40, Caliber: .40, Serial number:

          MG326588;

       2. Springfield Armory Pistol, Model: SD-45, Caliber: .45, Serial number:

          US654512;

       3. Taurus Pistol, Model PT-1911, Caliber: .45, Serial number: NB083781;

       4. Israel Military Industries (IMI-IWI) Pistol, Model: Desert Eagle, Caliber: .50,

          Serial number: 85424;

       5. Smith & Wesson Pistol, Model: 622, Caliber: .22, Serial number: THF2891;

          and

       6. Intratec Pistol, Model: AB-10, Caliber: 9MM, Serial number: A050834.

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      All pursuant to 21 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

      A TRUE BILL.


                                        s/ Grand Jury Foreperson
                                        GRAND JURY FOREPERSON



s/ Yunah Chung
YUNAH CHUNG
Assistant U.S. Attorney
United States of America



s/ John E. Kuhn, Jr.
JOHN E. KUHN, JR.
United States Attorney
United States of America


DATE: April 19, 2022




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